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                                                                                         UNITED STATES DISTRICT COURT
                                                                                         EASTERN DISTRICT OF MICHIGAN

                                                          LELAND FOSTER,

                                                                            Plaintiff,                      CASE NO. 2:18-CV-10545-SFC-RSW

                                                          v                                                 HON. SEAN F. COX

                                                          CROSSROADS SHOPPING CENTER                     STIPULATION TO DISMISS CROSS
                                                          INVESTMENTS, LLC, a Delaware Limited Liability CLAIM
                                                          Company,

                                                                            Defendant/Cross-Defendant,

                                                          and

                                                          BIG LOTS STORES, INC., an Ohio Corporation for
                                                          Profit,

                                                                            Defendant,

                                                          and

                                                          FAMILY FARM & HOME, INC., a Michigan
                                                          Corporation

                                                                            Defendant/Cross-Claimant,
SMITH HAUGHEY RICE & ROEGGE, A Professional Corporation




                                                          Owen B. Dunn, Jr. (P66315)                        Kevin B. Even (P38599)
                                                          Valerie J. Fatica (0083812)                       SMITH HAUGHEY RICE & ROEGGE
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                                                                                   STIPULATION TO DISMISS CROSS-CLAIM

                                                                  NOW COME the parties hereto, by and through their respective counsel of record; and

                                                                  HEREBY STIPULATE that the Cross Claim filed by Family Farm & Home, Inc., against

                                                          Crossroads Shopping Center Investments, LLC may be dismissed with prejudice and without

                                                          costs or attorney’s fees to either party.

                                                          Dated: January 16, 2019                            /s/ Kevin B. Even
                                                                                                             Kevin B. Even (P38599)
                                                                                                             SMITH HAUGHEY RICE & ROEGGE
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                                                          Dated: January 16, 2019                            /s/ John W. Henke
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